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                       UNITED STATES COURT OF APPEALS
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT

____________________________________)
UNITED STATES OF AMERICA,           )
                                    )               COA Case No. 23-3028
            Appellee                )
                                    )               LC No. 1:21-CR-00569-TNM-1
v.                                  )
                                    )
JESSE R. BENTON,                    )
                                    )
            Appellant.              )
____________________________________)

                        ATTORNEY STATEMENT OF INTENTION

       Undersigned counsel represented Appellant, Jesse R. Benton, in Appellant’s criminal

matter, Case #1:21-CR-00569-TNM-1, before the United States District Court in the District of

Columbia. Pursuant to this Court’s Order dated March 13, 2023, Counsel informs this Court that

he will not provide representation of Appellant in the above-captioned appeal.




Dated: April 12, 2023                       Respectfully submitted,




                                              By: /s/ Brian W. Stolarz
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that this document filed through the CM/ECF system on April 12,

2023, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing.


                                                   /s/ Brian W. Stolarz
                                                   Brian W. Stolarz




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